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                       IN THE UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                                            CASE NO.


CARLOS SULSONA,
on behalf of himself and others similarly
situated,

       Plaintiff,

vs.                                                              COLLECTIVE ACTION

SABOR BORINQUENO, INC, a
Florida Profit Corporation d/b/a
Mofongo's Restaurant,

       Defendant.
                                            /

                                         COMPLAINT

                                      INTRODUCTION

      1.       This is a collective action brought pursuant to the Fair Labor Standards Act of

1938, 29 U.S.C. § 201, et seq. (hereinafter “FLSA”), to recover unpaid overtime compensation

owed to Plaintiff CARLOS SULSONA, and all others similarly situated to him who were

formerly or are currently employed as hourly paid employees by Defendant SABOR

BORINQUENO, INC, (hereinafter, “SABOR BORINQUENO”).

      2.        Pursuant to the FLSA, Plaintiff, on behalf of himself and all others similarly

situated to him, seeks unpaid overtime compensation, liquidated damages or pre-judgment

interest, post-judgment interest, attorneys’ fees and costs from Defendant SABOR

BORINQUENO.

      3.       Plaintiff also requests the Court to authorize concurrent notice to all persons who

were formerly or are currently employed by Defendant SABOR BORINQUENO, and who were
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paid in a similar manner as Plaintiff, or who were so employed during the Liability Period,

informing them of the pendency of this action and their right to opt into this lawsuit pursuant to

the FLSA, 29 U.S.C. §216(b).

                                       JURISDICTION

      4.       This Court has jurisdiction over this action pursuant to the Fair Labor Standards

Act of 1938 (“FLSA”), as amended, 29 U.S.C. §216(b), and 28 U.S.C. §1331 and 1337.

                                            VENUE

      5.       Venue is proper in this Court under 28 U.S.C. §1391(b)(2) because a substantial

part of the events or omissions giving rise to the claims occurred in Miami-Dade County, Florida

and within the Southern District of Florida.

                                           PARTIES

      6.      Plaintiff CARLOS SULSONA (hereinafter “Plaintiff” or “SULSONA”) was, at

all material times, a resident of Miami-Dade County, Florida and was employed as an hourly

waged cook by Defendant SABOR BORINQUENO working in Miami-Dade County, Florida,

from March 5, 2021 until June 26, 2021.

      7.      At all times material, during Plaintiff’s employment with Defendant SABOR

BORINQUENO, Plaintiff was engaged in commerce or in the production of goods for

commerce.

       8.      At all times material, Defendant SABOR BORINQUENO was an “enterprise

engaged in commerce” within the meaning of 29 U.S.C. § 203(s)(1) with annual gross sales in

excess of $500,000 within the meaning of the FLSA. Defendant, SABOR BORINQUENO is a

Florida Profit Corporation doing business in South Florida, and is an enterprise engaged in an

industry affecting commerce, is an employer as defined by 29 U.S.C. § 203(d) and (s)(1), in that

it has employees engaged in commerce or in the production of goods for commerce, or that has
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employees handling, selling, or otherwise working on goods or materials that have been moved

in or produced for commerce by any person; and it is an enterprise whose annual gross volume

of sales made or business done is not less than $500,000 (exclusive of excise taxes at the retail

level that are separately stated) which has employees subject to the provisions of the FLSA, 29

U.S.C. § 207. At all times pertinent to this Complaint, SABOR BORINQUENO operates as an

organization which sells and/or markets its services and/or goods to its customers at its

restaurant located in South Florida and also provides its services for goods sold and transported

from across state lines of other states, and SABOR BORINQUENO obtains and solicits funds

from non-Florida sources, accepts funds from non-Florida sources, uses telephonic transmissions

going over state lines to do their business, transmits funds outside the State of Florida, and

otherwise regularly engages in interstate commerce, particularly with respect to its employees.

                                    FACTUAL ALLEGATIONS

       9.      The allegations in Paragraphs 1 through 8 are incorporated as if fully stated herein.

       10.     Plaintiff   is   a   non-exempt    former    employee     of   Defendant     SABOR

BORINQUENO who worked as an hourly wage cook for Defendant’s restaurant business.

       11.     From on or about March 5, 2021, through June 26, 2021, Plaintiff worked more

than 40 hours per week during many weeks of his employment, without being paid the federally

mandated wage for overtime. Specifically, Plaintiff was paid only straight time at $14.00/hr for

exactly 40 hours via paycheck and approximately 25 hours of overtime per week in cash at the

straight-time rate, and thus did not receive time-and-a-half his regular rate of pay for those hours.

Plaintiff does not have complete time and pay records, so it is impossible to calculate the exact

amount of his claim. Plaintiff estimates that he worked approximately 400 hours of overtime

spanning March 5, 2021, through June 26, 2021. Based on the foregoing, Plaintiff estimates that

he is owed $2,800.00 (16 weeks times 25 hours times $7 half-time) in unpaid overtime plus an
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equal amount for liquidated damages.

       12.    Defendants violated the FLSA by failing to pay Plaintiff for all overtime hours

worked in excess of forty per week at the applicable time and one-half rate.

       13.    Defendants pay all of their hourly waged employees in the same fashion. There

are at least 60 other current and former employees who were paid only straight time for overtime

hours, and are thus owed the half-time premium as well.


                                        LEGAL CLAIM

                   COUNT I (as to Plaintiff and those similarly situated):
       Failure to Pay Overtime Wages in Violation of 29 U.S.C. § 207 by Defendant

       14.     The allegations in Paragraphs 1 through 13 are realleged and fully incorporated

by reference herein.

       15.     By its actions alleged above, Defendant SABOR BORINQUENO willfully,

knowingly and/or recklessly violated the provisions of FLSA, which requires overtime wages to

be paid to non-exempt employees, including those set forth in the provisions of 29 U.S.C. § 207.

       16.     As a result of the unlawful acts of Defendant, Plaintiff and all persons similarly

situated to him have been deprived of overtime wages in amounts to be determined at trial, and

are entitled to recovery of such amounts in addition to liquidated damages or prejudgment

interest, post-judgment interest, attorneys’ fees and costs.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff and all employees similarly situated who join in this action pray

for this Court to enter an order certifying a collective action pursuant to section 216(b) for

violations of the FLSA, and pray for this Court to grant the following relief:

       A.      To authorize the issuance of notice at the earliest possible time to all current and

former hourly paid employees who were employed by Defendant. This notice should inform
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them that this action has been filed, describe the nature of the action, and explain their right to

opt into this lawsuit if they were not paid overtime wages as required by the FLSA;

       B.      To declare that Defendant has violated the overtime provisions of the FLSA, 29

U.S.C. § 207, as to Plaintiff and persons similarly situated;

       C.      To declare that Defendant’s violations of the FLSA were willful;

       D.      To award Plaintiff and other similarly situated current and former employees of

Defendant adequate damages for the amount of unpaid overtime wage compensation they are

owed, subject to proof at trial;

       E.      To award Plaintiff and other similarly situated current and former employees of

Defendant liquidated damages in an amount equal to the unpaid overtime compensation shown

to be owed pursuant to 29 U.S.C. §216(b);

       F.      If liquidated damages are not awarded, then the Court should award, in the

alternative, prejudgment interest;

       G.      To make the same declarations and awards as prayed for in paragraphs A-F above

as to all persons who opt into this action pursuant to 29 U.S.C. §216(b); and

       H.      To award Plaintiff and other similarly situated current and former employees of

Defendant their reasonable attorneys’ fees and costs pursuant to 29 U.S.C. §216(b).

                                        JURY DEMAND

       Plaintiff demands trial by jury on all issues so triable.
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                                 CONSENT TO JOIN
                             PURSUANT TO 29 U.S.C. §216(b)

       I, CARLOS SULSONA, hereby consent and agree and opt-in to become a Plaintiff in this
lawsuit brought under the Fair Labor Standards Act of 1938, as amended, 29 U.S.C. § 201, et seq.


                                                  /s/CARLOS SULSONA
                                                  CARLOS SULSONA


Dated: June 30, 2021
Plantation, Florida
                                                  Respectfully submitted,


                                                  /s/Robert S. Norell
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